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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                   DEL RIO DIVISION

 Javier Cazares, et al.,                        §
      Plaintiffs                                §
                                                §           Civil Action No. 2:24-CV-045
  v.                                            §
                                                §
  Juan Maldonado, et al.,                       §
      Defendants.                               §
                                                §

                                            ORDER

        Pending before the Court is Defendant Jesus “J.J.” Suarez’s Motion to Dismiss Plaintiffs’

Original Complaint. Upon consideration of the Motion, the Court is of the opinion that Defendant

Suarez’s Motion should be GRANTED.

        It is therefore ORDERED that Defendant Suarez’s Motion to Dismiss is GRANTED and

that all of Plaintiffs’ claims and causes of action against Defendant Suarez are DISMISSED WITH

PREJUDICE.



        SIGNED on this _____ day of ___________, 2024.



                                     _________________________________________
                                     CHIEF U.S. DISTRICT JUDGE ALIA MOSES
